Case 4:23-cv-00609-BJ Document 1-13 Filed 06/15/23   Page 1 of 17 PageID 322




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                                         777 Main Street
                                         Suite 2800
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Case 4:23-cv-00609-BJ Document 1-13 Filed 06/15/23                 Page 3 of 17 PageID 324
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Case 4:23-cv-00609-BJ Document 1-13 Filed 06/15/23                   Page 8 of 17 PageID 329
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                                           01 /27/2023
Case 4:23-cv-00609-BJ Document 1-13 Filed 06/15/23                Page 9 of 17 PageID 330




 ~      CADENCE
  ~     Bank

                                       January 27, 2023



By Certified Mail CRR, Regular Mail
and Email

BRIDGELINK ENGINEERING, LLC
777 Main Street, Suite 2800
Fort Worth, TX 76102
Attention: Cord Johnson
cole@bcrcompanies.com

COLE WAYNE JOHNSON
1301 Old Tin Top Rd.
Weatherford, Texas 76087
cole@bcrcompanies.com

CORD HENRY JOHNSON
680 McClendon Walker Rd.
Aledo, Texas 76008
Cord@bcrcompanies.com


       Re:     Credit Agreement dated August 6, 2021 by and among BRIDGELINK
               ENGINGEERING, LLC (“Borrower”), the Lenders parties thereto (each a
               “Lender”), and CADENCE BANK formerly known as BancorpSouth Bank
               (“Administrative Agent” and a “Lender”) as amended by that certain First
               Amendment to Credit Agreement, dated as of December 22, 2021, that certain
               Second Amendment to Credit Agreement (“Second Amendment”) dated as of
               March 29, 2022, and that certain Third Amendment to Credit Agreement (“Third
               Amendment”) dated as of July 14, 2022 (as so amended and as may from time to
               time be further amended, restated or otherwise modified, the “Credit Agreement”).
               All terms not otherwise defined shall have the meaning set forth in the
               Agreement.

Dear Sirs:

We are writing to you in connection with the above-referenced Credit Agreement. Borrower and
each Guarantor are notified as follows:
Case 4:23-cv-00609-BJ Document 1-13 Filed 06/15/23                Page 10 of 17 PageID 331
January 23, 2023
Page 2



   1. Borrower failed to make the interest payment due on December 31, 2022 as required by
      Section 3.1(c) of the Loan Agreement.

   2. Borrower failed to pay the fee required as a condition of the to the effectiveness of the
      Third Amendment as provided for in the Third Amendment.

   3. As required by Section 6.2(ii) of the Second Amendment, Borrower failed to within ten
      (10) Business Days after the NTP Payment Guarantee Date (as defined in the Second
      Amendment) Borrower shall deliver or cause to be delivered to Administrative Agent
      (w) a Subsidiary Joinder Agreement executed by Old Hickory Solar LLC, (x) such
      certificates as Administrative Agent shall reasonably require with respect to the authority
      of Old Hickory Solar LLC to sign the above referenced Subsidiary Joinder Agreement,
      (y) a UCC-3 termination statement filed with the Delaware Secretary of State with
      respect to the UCC-1 financing statements attached as Annex D to the Second
      Amendment, (z) a Confirmation of Reinstatement of Deleted Collateral executed by
      Borrower in the form attached hereto as Annex E of the Second Amendment.

   4. Borrower has failed to pay reasonable and documented Attorney Costs of the
      Administrative Agent’s counsel as required by Section 10.3(a) of the Credit Agreement.

Demand is made for payment of the amounts and delivery of the documents referred to above.

This notice constitutes a reminder that we require strict compliance with the Loan Documents.

Administrative Agent hereby expressly reserve all of their rights and remedies under the Loan
Documents, at law and in equity.

This notice does not (A) operate as a waiver or modification of any right, remedy, power or
privilege of Administrative Agent or any Lender under any of the Loan Documents or applicable
law, all of which rights, remedies, powers and privileges are hereby reserved; (B) prejudice or
preclude any other or further exercise of any rights, remedies, powers or privileges of
Administrative Agent or any Lender under any of the Loan Documents or at law or in equity; (C)
entitle you to any other notice or demand whatsoever; (D) in any way modify, impair or release
any of your liabilities under or pursuant to any of the Loan Documents or any other liability that
you have to Administrative Agent or any Lender; (E) waive any breach or default under the Loan
Documents, whether or not known to Administrative Agent or any Lender and whether or not
stated in this letter; or (F) operate as an agreement by Administrative Agent or any Lender to
forbear from exercising any remedies available to them now or in the future.

Furthermore, any failure or delay by Administrative Agent or any Lender in enforcing its rights
and remedies under the Loan Documents, at law or in equity, or the acceptance from time to time
by Administrative Agent or any Lender of any payments or performance on account of the
obligations shall not, in any way, constitute or act as (i) a rescission or waiver of any
requirements under the Loan Documents, (ii) a modification of any of the Loan Documents, (iii)
an accord or satisfaction with respect to the entire amount of the obligations due under the Notes
Case 4:23-cv-00609-BJ Document 1-13 Filed 06/15/23      Page 11 of 17 PageID 332
January 23, 2023
Page 3



and the other Loan Documents; or (iv) a course of dealing or course of conduct by
Administrative Agent or any Lender.

                                      Sincerely,

                                      CADENCE BANK


                                      By:
                                      Name: Grant Sifers
                                      Title: SVP & Senior Managing Director


cc:   By Certified Mail CRR Regular Mail
      and Email

      BIGHORN CONSTRUCTION AND RECLAMATION L.L.C
      777 Main Street, Suite 2800
      Fort Worth, TX 76102
      Attention: Cord Johnson
      cole@bcrcompanies.com

      BIGHORN SAND & GRAVEL LLC
      777 Main Street, Suite 2800
      Fort Worth, TX 76102
      Attention: Cord Johnson
      cole@bcrcompanies.com

      BIGHORN INVESTMENTS AND PROPERTIES, LLC
      777 Main Street, Suite 2800
      Fort Worth, TX 76102
      Attention: Cord Johnson
      cole@bcrcompanies.com
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